                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

    ROBERT KELLER,                                       )
                                                         )
           Plaintiff,                                    )
                                                         )    Removed from the Circuit Court
    v.                                                   )    of Williamson County
                                                         )    Case No.: 2022-337
    KHALIF KARRIEM and REAL TIME                         )
    ARRIVE, INC.,                                        )
                                                         )
           Defendants.                                   )


                                          NOTICE OF REMOVAL


          Defendants Khalif Karriem and Real Time Arrive, Inc. (collectively, “Defendants”) give

notice of the removal of this case from the Circuit Court for Williamson County, Tennessee

to the United States District Court for the Middle District of Tennessee under 28 USC §

1446(a). As grounds for removal, these Defendants would show the Court as follows:

          1.      Plaintiff filed a Complaint in the Circuit Court of Williamson County, Tennessee

on 13 July 2022 (Case Number 2022-337), naming Defendants Khalif Karriem and Real Time

Arrive, Inc.

          2.      Defendant Khalif Karriem was served with a copy of the Complaint in this

action on 13 September 20221. Defendant Real Time Arrive, Inc. was served with a copy of

the Complaint on 26 July 2022 and was granted an extension to file a responsive pleading by

15 September 2022. Therefore, this Notice of Removal is timely filed.


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    Plaintiff’s counsel advises service was attempted on Defendant Khalif Karriem through the Tennessee
    Secretary of State but there was no return of service. Defendant Karriem sent discovery responses dated 16
    August 2022 directly to Plaintiff’s counsel. The undersigned counsel agreed to accept service on behalf of
    Defendant Kariem on 13 September 2022 via email and Plaintiff’s counsel’s office emailed the summons to
    the undersigned counsel on 13 September 2022.



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       3.     Plaintiff is a citizen of the State of Tennessee.

       4.     Defendant Khalif Karriem is, and was at the time this action was commenced,

a citizen of the State of Illinois. Defendant Khalif Karriem is not a citizen of the State of

Tennessee.

       5.     Defendant Real Time Arrive, Inc. is, and was at the time this action was

commenced, a registered California corporation with its principal place of business in Los

Angeles, California. Defendant Real Time Arrive, Inc. is not a registered entity in the State of

Tennessee.

       6.     This is a civil action over which this Court has original jurisdiction. The amount

in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and this

action is between citizens of different States. 28 USC § 1332(a).

       7.     Any civil action brought in a State court of which the district courts of the

United States have original jurisdiction may be removed by the defendant to the district

court of the United States for the district and division embracing the place where such action

is pending. 28 USC § 1441(a).

       8.     True copies of all pleadings filed to date in this action by any party are attached

as collective Exhibit A.

       9.     These Defendants are filing a copy of this Notice of Removal with the Circuit

Court of Williamson County, Tennessee and are sending a copy of the Notice of Removal to

all interested parties under 28 USC § 1446(d).

       Defendants respectfully request that Case Number 2022-337, now pending in the

Circuit Court of Williamson County, Tennessee be removed to this Honorable Court.




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                                  Respectfully submitted,

                                  FREEMAN MATHIS & GARY, LLP

                                  By: /s/ Jason M. Pannu
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                                     and

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                                     Time Arrive, Inc.




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                                  CERTIFICATE OF SERVICE

        This is to certify that on this the 15th day of September 2022, a copy of the foregoing
NOTICE OF REMOVAL was filed electronically. Notice of this filing will be sent by operation
of the Court’s electronic filing system to all parties indicated on the electronic filing receipt.
All other parties will be served by regular U.S. mail. Parties may access the filing through the
Court’s electronic filing system.:

Hand      Blair P. Durham                          Hand       Lynn Vo Lawyer
Mail      Chaucey D. Fuller                        Mail       Law Offices of Lynn Vo Lawyer
Fax       Bart Durham Injury Law                   Fax        P.O. Box 2903
FedEx     404 James Robertson Parkway              FedEx      Hartford, Connecticut 06104-2903
Email     Suite 1712                               Email      llawyer@travelers.com
CM/ECF    Nashville, Tennessee 37219               CM/ECF     Counsel for UM/UIM Carrier Travelers
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          Counsel for Plaintiff


                                                     /s/ Jason M. Pannu
                                                    Jason M. Pannu




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